                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                 CR 11-2025 LRR
 vs.                                                          ORDER
 LAWRENCE JOHNSON,
               Defendant.
                                ____________________

       On January 6, 2012, the Court accepted the jury verdict finding Defendant
Lawrence Johnson guilty on Counts 1, 11, 14, 21 and 22 of the Indictment.
       Accordingly, IT IS ORDERED as follows:
       1.     Defendant is adjudicated guilty of Counts 1, 11, 14, 21 and 22 of the
Indictment.
       2.     The United States Probation Office shall conduct a presentence investigation
and prepare a report.
       3.     The attorneys shall timely comply with the deadlines for preparation of the
presentence report.
       4.     Defendant remains detained pending sentencing.
       IT IS SO ORDERED.
       DATED this 6th day of January, 2012.




   Case 6:11-cr-02025-LRR-MAR         Document 311      Filed 01/06/12    Page 1 of 1
